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Ving te Ele L Ra

Markix Arnold Rey Sata
Et Deno lorection’) eal ty
V5 a Hv y 54

Po, Bow 31

Fi Dorado Kansas 61042

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Fax? (ib) 322 - alg
Da se- Cian

 
